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                             In the United States District Court
                             for the Northern District of Illinois
                                      Eastern Division

 William D. Herrin,                           )
                                              )
                Plaintiff,                    )       Case No. 1:20–cv–01439
                                              )
 vs.                                          )       Honorable Joan H. Lefkow
                                              )
 Allied Servicing Corporation,                )
                                              )
                Defendant.                    )
                                              )
                             SCHEDULING ORDER

         The parties, having held a scheduling conference attended by Rusty Payton

for the plaintiff and Pooja Dosi for the defendant, as required by Fed. R. Civ. P.

26(f), submit the following proposed scheduling order:

         (A)   The parties believe that an early settlement conference __ will X will
               not likely result in the disposition of the case.

         (B)   The parties shall have until June 5, 2020 to make Rule 26(a)(1)
               disclosures.

         (C)   Amendments to the pleadings and/or joinder of additional parties are
               not anticipated and may be sought upon appropriate motion by June
               19, 2020. Amendments thereafter may be made only on motion for
               good cause shown.

         (D)   Non-expert discovery will close on October 2, 2020.

         (E)   The cut-off date for designation of plaintiff’s trial expert(s) as provided
               in Fed. R. Civ. P. 26(a)(2) is November 6, 2020; for defendant’s trial
               expert(s), December 4, 2020. Depositions of the experts shall be taken
               within 60 days of designation. Unless otherwise stipulated, disclosure
               of experts will include a report fully in compliance with Rule
               26(a)(2)(B).

         (F)   Any motion challenging the qualifications of a designated expert
               must be made within 21 calendar days after the deposition of the
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               expert or the close of discovery, whichever is earlier. If no motion is
               filed, the court may deem such challenges waived.

Dispositive Motions

        Before a dispositive motion is filed, the parties will exchange demand and
offer letters in an effort to reach resolution of the case. A status hearing will be set
on a date determined by the court, approximately two weeks before the close of
discovery. At this time, the parties will report on any outstanding discovery issues,
as well on the possibility of settlement and whether a settlement conference with a
judge may be helpful. The parties should expect to be referred to a magistrate
judge for settlement discussions before filing a motion for summary judgment.

       Also at this status hearing, the court will set a schedule for disposition
of the case, including trial dates.

Consent to Proceed Before a Magistrate Judge

The parties __ consent X do not consent to have their case proceed before a magistrate
judge.

                                                ENTERED:

Date: May 13, 2020
                                                       Joan Humphrey Lefkow
                                                       U.S. District Judge


 By: /s/ Blake A. Strautins                     By: /s/ Rusty Payton
 Blake A. Strautins                             Rusty Payton
 Pooja Dosi                                     PAYTON LEGAL GROUP
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                                 Certificate of Service

       I, Pooja Dosi, hereby certify that on this 12th day of May, 2020, I caused the
foregoing document to be electronically filed with the Clerk of Court using the
CM/ECF system, which will send notification of such filing to all counsel of record
who have filed an appearance in this matter.

                                                     By_ /s/ Pooja Dosi______




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